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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH


     NETCHOICE, LLC,                                     MEMORANDUM DECISION AND
                                                                 ORDER
             Plaintiff,
                                                         Case Nos. 2:23-cv-00911-RJS-CMR and
     v.                                                        2:24-cv-00031-RJS-CMR

     SEAN D. REYES, in his official capacity as               Chief Judge Robert J. Shelby
     Attorney General of Utah; and KATHERINE
     HASS, in her official capacity as Director of        Magistrate Judge Cecilia M. Romero
     the Division of Consumer Protection of the
     Utah Department of Commerce,

             Defendants.

     HANNAH PAISLEY ZOULEK, a Utah
     resident; JESSICA CHRISTENSEN, a Utah
     resident; LU ANN COOPER, a Utah resident;
     M.C., a Utah resident, by and through her
     parent, LU ANN COOPER; VAL SNOW, a
     Utah resident; and UTAH YOUTH
     ENVIRONMENTAL SOLUTIONS, a Utah
     association,

             Plaintiffs,

     v.

     KATHERINE HASS, in her official capacity
     as Director of the Utah Division of Consumer
     Protection; SEAN REYES, in his official
     capacity as Utah Attorney General,

             Defendants.


           Earlier this year, the State of Utah enacted the Utah Minor Protection in Social Media

 Act.1 The Act, which takes effect on October 1, 2024, seeks to protect young Utahans’ mental


 1
     Utah Code §§ 13-71-101 to 401.

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 health and personal privacy by requiring social media platforms to verify users’ ages and impose

 special restrictions on minors’ accounts.

         Now before the court are two cases challenging the Act, alleging it violates the rights to

 free expression and due process under the First and Fourteenth Amendments of the United States

 Constitution. The first is brought by Plaintiff NetChoice, LLC. NetChoice is a trade association

 comprised of internet companies, including household names such as Google, Meta, Snap, and

 X. The second is brought by Plaintiffs Hannah Paisley Zoulek, Jessica Christensen, Lu Ann

 Cooper, M.C., Val Snow, and Utah Youth Environmental Solutions. The Zoulek Plaintiffs are

 minors, adults, and a youth-led organization who use social media platforms to learn, express

 themselves, and interact with others. Both NetChoice and the Zoulek Plaintiffs seek orders

 enjoining Defendants Sean D. Reyes and Katherine Hass from enforcing the Act while the court

 resolves the parties’ constitutional challenges.2

         As explained below, the court finds NetChoice is substantially likely to succeed on its

 claim the Act violates the First Amendment and grants its request for a preliminary injunction.

 The court recognizes the State’s earnest desire to protect young people from the novel challenges

 associated with social media use. But owing to the First Amendment’s paramount place in our

 democratic system, even well-intentioned legislation that regulates speech based on content must

 satisfy a tremendously high level of constitutional scrutiny. And on the record before the court,

 Defendants have yet to show the Act does.


 2
  Dkt. 52 (case no. 2:23-cv-00911), Plaintiff’s Motion for Preliminary Injunction (NetChoice Motion); Dkt. 37 (case
 no. 2:24-cv-00031), Motion for Preliminary Injunction and Memorandum of Law in Support (Zoulek Motion). In
 subsequent citations to the respective dockets, the court will note “NetChoice” or “Zoulek” in a parenthetical
 following the docket number.
 Throughout this Memorandum Decision and Order, the court will refer to Plaintiff NetChoice, LLC as “NetChoice.”
 The court will refer to Plaintiffs Hannah Paisley Zoulek, Jessica Christensen, Lu Ann Cooper, M.C., Val Snow, and
 Utah Youth Environmental Solutions, collectively, as “the Zoulek Plaintiffs.” The court will refer to NetChoice and
 the Zoulek Plaintiffs, collectively, as “Plaintiffs.”

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            Separately, the court finds the Zoulek Plaintiffs have not sufficiently alleged their

 standing to challenge the Act’s constitutionality and denies their request for a preliminary

 injunction. The court dismisses the Zoulek Plaintiffs’ claims without prejudice and invites them

 to move for leave to file an amended complaint if they wish to do so.

                                                   BACKGROUND

      I.    The Parties

            A. NetChoice

            NetChoice is a nonprofit trade association for internet companies.3 It seeks to “promote

 online commerce and speech,” “increase consumer access and options via the [i]nternet,” and

 “minimiz[e] the burdens that would prevent businesses from making the [i]nternet more

 accessible and useful.”4 NetChoice members include many prominent internet companies:

 Dreamwidth; Google, which owns and operates YouTube; Meta, which owns and operates

 Facebook and Instagram; Nextdoor; Pinterest; Snap Inc., which owns and operates Snapchat; and

 X.5

            According to NetChoice, each of these companies operate websites and applications that

 publish, disseminate, create, or distribute protected speech “by displaying text, audio, images, or

 video to users—including user-generated content.”6 And through NetChoice member sites, users

 “gain access to information and communicate with one another about it on any subject that might

 come to mind.”7


 3
     Dkt. 51 (NetChoice), Plaintiff’s First Amended Complaint (NetChoice FAC) ¶ 8.
 4
     Id.
 5
  Id. ¶ 11. The Act does not regulate all NetChoice members. Id. For clarity, however, this Order refers to the
 subset of NetChoice members subject to the Act as “members.”
 6
     NetChoice Motion at 5 (internal quotations and citations omitted).
 7
     NetChoice FAC ¶ 19.

                                                             3
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             B. The Zoulek Plaintiffs

             The Zoulek Plaintiffs are Utah residents and a Utah-based association who use social

 media to “communicate, express themselves, associate with peers, and learn.”8 They contend the

 Act would restrict their ability “to communicate and access information.”9

             Hannah Paisley Zoulek is a soon-to-be college student who uses social media for

 educational purposes and to connect with communities of users expressing themselves through

 creative writing.10 Jessica Christensen is a prominent advocate for former members of

 polygamous groups who herself escaped a polygamous family at age fifteen.11 Minors and

 adults who have left or are seeking help in leaving abusive homes frequently contact her through

 social media.12 Lu Ann Cooper is the co-founder and president of Hope After Polygamy, which

 provides support to individuals, including minors, who are in or have left polygamist

 communities.13 Hope After Polygamy maintains several social media accounts to educate the

 public about its services and communicate with minors seeking help.14 M.C. is Cooper’s

 daughter and a high school student who uses social media to connect with friends, explore

 creative interests, and obtain information about a range of topics.15 Val Snow is a YouTuber

 who makes videos about mental health, resilience, and LGBTQ-related issues.16 Both minors




 8
     Dkt. 36 (Zoulek), First Amended Complaint for Declaratory and Injunctive Relief (Zoulek FAC) ¶ 5.
 9
     Id.
 10
      Id. ¶ 7.
 11
      Id. ¶ 8.
 12
      Id.
 13
      Id. ¶ 9.
 14
      Id.
 15
      Id. ¶ 10.
 16
      Id. ¶ 11.

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 and adults watch his content and contact him through the channel for support.17 And Utah Youth

 Environmental Solutions (UYES) is a “youth-led grassroots organization that seeks to educate

 young people in Utah regarding climate change and environmental issues.”18 It uses social

 media to advertise opportunities for involvement, promote other resources and information, and

 communicate with minors interested in the organization.19

             C. Defendants

             Defendants are Katherine Hass and Sean Reyes, both sued in their official capacity.20

 Hass is Director of the Division of Consumer Protection of the Utah Department of Commerce

 (the Division).21 The Act grants enforcement authority to the Division and its Director.22 Reyes

 is the Attorney General of Utah.23 He has authority to “give legal advice to, and act as counsel

 for, the [D]ivision in the exercise of the [D]ivision’s responsibilities.”24

  II.        The Act

             In March 2024, the State enacted the Utah Minor Protection in Social Media Act.25

 Scheduled to take effect on October 1, 2024, the Act partially replaces Utah’s Social Media

 Regulation Act of 2023, which the State repealed after NetChoice and the Zoulek Plaintiffs filed

 separate cases challenging its constitutionality.26 The Act purports to advance Utah’s



 17
      Id.
 18
      Id. ¶ 12.
 19
      Id.
 20
      NetChoice FAC ¶¶ 14–15; Zoulek FAC ¶¶ 13–14.
 21
      NetChoice FAC ¶ 15; Zoulek FAC ¶ 13.
 22
      NetChoice FAC ¶ 15 (citing Utah Code § 13-71-301); Zoulek FAC ¶ 13 (citing Utah Code § 13-71-301).
 23
      NetChoice FAC ¶ 14; Zoulek FAC ¶ 14.
 24
      NetChoice FAC ¶ 14 (quoting Utah Code § 13-71-301(4)(b)); Zoulek FAC ¶ 14.
 25
      NetChoice FAC ¶¶ 38–39; Zoulek FAC ¶ 43.
 26
      NetChoice FAC ¶¶ 38–39; Zoulek FAC ¶ 42.

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 “compelling interest in safeguarding the well-being and privacy of [Utah] minors” who use

 social media services.27

            A. Central Coverage Definition

            The Act regulates “[s]ocial media compan[ies],”28 defined as “entit[ies] that own[] or

 operate[] a social media service.”29 A “social media service” is, in turn, defined as “a public

 website or application” that:

            (i)         displays content that is primarily generated by account holders and not by
                        the social media company;

            (ii)        permits an individual to register as an account holder and create a profile
                        that is made visible to the general public or a set of other users defined by
                        the account holder;

            (iii)       connects account holders to allow users to interact socially with each other
                        within the website or application;

            (iv)        makes available to each account holder a list or lists of other account holders

 27
   Utah Code § 13-71-102(1). The Act contains various legislative findings related to this “compelling interest.”
 Those findings state:
            -       the proliferation of social media services has led to the widespread collection and utilization of
                    personal information, exposing minors to potential privacy and identity related harms;
            -       the addictive design features of certain social media services contribute to excessive use of a
                    social media service by minors, impacting sleep patterns, academic performance, and overall
                    health;
            -       social media services are designed without sufficient tools to allow adequate parental oversight,
                    exposing minors to risks that could be mitigated with proper parental involvement and control;
            -       the state has enacted safeguards around products and activities that pose risks to minors,
                    including regulations on motor vehicles, medications, and products and services targeted to
                    children;
            -       prolonged and unregulated social media use has been linked to adverse effects on the mental
                    health of minors, including increased rates of anxiety, depression, and social isolation;
            -       existing measures employed by social media companies to protect minors have proven
                    insufficient; and
            -       the state should ensure that minors’ personal data is given special protection, as minors may
                    have less awareness of the risks, consequences, and safeguards related to a social media
                    company’s processing of minors’ personal data.
 28
      Utah Code §§ 13-71-201 to 204, 302.
 29
      Id. § 13-71-101(13).

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                     with whom the account holder shares a connection within the system; and

            (v)      allows account holders to post content viewable by other users.30

 The Act expressly excludes from the “social media service” definition “email[,]” “cloud

 storage[,]” and “document viewing, sharing, or collaboration services.”31

            B. The Act’s Requirements

            The Act’s requirements are readily divided in two parts. First, the Act requires social

 media companies to “implement an age assurance system to determine whether a current or

 prospective Utah account holder . . . is a minor.”32 The system must be “reasonably calculated to

 enable a social media company to identify whether a current or prospective Utah account holder

 is a minor with an accuracy rate of at least 95%.”33 And in conjunction with this requirement,

 social media companies must “implement a review process allowing account holders to appeal

 the account holder’s age designation by submitting documentary evidence to establish the

 account holder’s age range.”34 The company must “review evidence submitted by the account

 holder and make a determination within 30 days of submission of the evidence.”35

            Second, the Act subjects social media companies to special rules with respect to Utah

 minors’ accounts. Relevant to this case, the Act requires social media companies to “set default

 privacy settings to prioritize maximum privacy, including settings” that:

            (a)      restrict the visibility of a Utah minor account holder’s account to only



 30
      Id. § 13-71-101(14)(a).
 31
      Id. § 13-71-101(14)(b).
 32
   Id. § 13-71-201(1). The Act defines a minor as “an individual under 18 years old” that “has not been
 emancipated” or “married.” Id. § 13-71-101(8).
 33
      Id. § 13-71-101(2).
 34
      Id. § 13-71-201(3)(a).
 35
      Id. § 13-71-201(3)(b).

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                     connected accounts;36

            (b)      limit the Utah minor account holder’s ability to share content to only
                     connected accounts;

            (c)      restrict any data collection and sale of data from a Utah minor account
                     holder’s account that is not required for core functioning of the social media
                     service;37

            (d)      disable search engine indexing of Utah minor account holder profiles;

            (e)      restrict a Utah minor account holder’s direct messaging capabilities to only
                     allow direct messaging to connected accounts; and

            (f)      allow a Utah minor account holder to download a file with all information
                     associated with the Utah minor account holder’s account[.]38

 These default privacy setting may not be changed without a social media company “first

 obtaining verifiable parental consent.”39

            The Act also requires social media companies to “disable” certain “features that prolong

 user engagement” on Utah minors’ accounts.40 These features include “autoplay functions that

 continuously play content without user interaction[,]” “scroll or pagination that loads additional




 36
   The Act defines a connected account as “an account on the social media service that is directly connected to: (a)
 the minor account holder’s account; or (b) an account that is directly connected to an account directly connected to
 the minor account holder’s account.” Id. § 13-71-101(3). Directly connected “means an account on the social
 media service that is connected to another account by (a) sending a request to connect to another account holder and
 having the request to connect accepted by the other account holder; or (b) receiving a request to connect from
 another account holder and accepting the request to connect.” Id. § 13-71-101(5).
 37
      The Act does not define what falls within the scope of “required for core functioning of the social media service.”
 38
      Id. § 13-71-202(1).
 39
   Id. § 13-71-204(1). Verifiable parental consent “means authorization from a parent for a social media service to
 collect, use, and disclose personal information of a Utah minor account holder, that complies with” certain
 “verifiability requirements.” Id. § 13-71-101(18). To comply, the social media service must “provide advance
 notice to the parent describing information practices related to the minor account holder’s personal information” and
 “receive confirmation that the parent received the notice . . . .” Id. § 13-71-101(18)(a), (b).
 40
      Id. § 13-71-202(5).

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 content as long as the user continues scrolling[,]”41 and “push notifications prompting repeated

 user engagement.”42

             Finally, the Act states a covered social media company’s “terms of service related to a

 Utah minor account holder shall be presumed to include an assurance of confidentiality for the

 Utah minor account holder’s personal information.”43 This presumption “may be overcome if

 the social media company obtains verifiable parental consent.”44 And the presumption of

 confidentiality “does not apply to a social media company’s internal use or external sharing of a

 Utah minor account holder’s personal information if the use or sharing is necessary” to:

             (a)      maintain or analyze functioning of the social media service;

             (b)      enable network communications;

             (c)      personalize the user’s experience based on the user’s age and location;

             (d)      display a username chosen by the Utah minor account holder;

             (e)      obtain age assurance information as required under [Utah Code] Section 13-
                      71-201; or

             (f)      comply with the requirements of this chapter or other federal or state laws.45

             C. Enforcement

             The Act grants the Division enforcement authority and authorizes the Attorney General to

 “give legal advice to, and act as counsel for the [D]ivision in the exercise of [its] [enforcement]




 41
      The court will follow the parties in referring to this feature as seamless pagination.
 42
   Id. § 13-71-202(5)(a)-(c). Apart from “push notifications,” the Act does not further define these features. A push
 notification is “an automatic electronic message displayed on an account holder’s device, when the user interface for
 the social media service is not actively open or visible on the device, that prompts the account holder to repeatedly
 check and engage with the social media service.” Id. § 13-71-101(11).
 43
      Id. § 13-71-204(2).
 44
      Id. § 13-71-204(3).
 45
      Id. § 13-71-204(4).

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  responsibilities.”46 Specifically, the Division Director “may impose an administrative fine of up

  to $2,500 for each violation” of the Act,47 and the Division “may bring an action in court to

  enforce a provision” of the Act.48 For actions brought in court, the court may:

             (i)       declare that the act or practice violates a provision of [the Act];

             (ii)      enjoin actions that violate [the Act];

             (iii)     order disgorgement of any money received in violation of [the Act];

             (iv)      order payment of disgorged money to an injured purchaser or consumer;

             (v)       impose a civil penalty of up to $2,500 for each violation of [the Act];

             (vi)      award actual damages to an injured purchaser or consumer; and

             (vii)     award any other relief that the court deems reasonable and necessary.49

  “If a court grants judgment or injunctive relief to the [D]ivision,” the Act further provides “the

  court shall award the [D]ivision” its “reasonable attorney fees[,]” “court costs[,]” and

  “investigative fees.”50

             The Act provides a “safe harbor” for social media companies who implement “age

  assurance” and “verifiable parental consent” mechanisms that comport with rules promulgated

  by the Division.51 The safe harbor provides that a social media company “is not subject to an

  enforcement action for a violation of Section 13-71-201 [the age assurance requirement] if the




  46
       Id. § 13-71-301(1), 301(2).
  47
       Id. § 13-71-301(3)(a)(i).
  48
    Id. § 13-71-301(3)(a)(ii). The Act authorizes both the Division and the “attorney general on behalf of the
  [D]ivision” to seek civil penalties in a civil action. Id. § 13-71-301(4)(b).
  49
       Id. § 13-71-301(3)(b).
  50
    Id. § 13-71-301(3)(c). The Act also subjects “[a] person who violates an administrative or court order issued for a
  violation of [the Act] . . . to a civil penalty of no more than $5,000 for each violation.” Id. § 13-71-301(4)(a).
   Id. § 13-71-302. At oral argument, Defendants indicated the Division will not publish these rules until after the
  51

  Act takes effect on October 1, 2024.

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  social media company implements and maintains an age assurance system that complies with

  rules made by the [D]ivision.”52 And the same provision assures that “[a] social media company

  is considered to have obtained verifiable parental consent if the social media company obtains

  parental consent through a mechanism that complies with . . . rules made by the [D]ivision.”53

  III.       Procedural History

             NetChoice and the Zoulek Plaintiffs initiated their respective cases in December 2023

  and January 2024, challenging the constitutionality of the then-existing Utah Social Media

  Regulation Act of 2023.54 Shortly thereafter, however, the court stayed both cases pending the

  completion of the 2024 Utah legislative session.55 During the session, the Utah Legislature

  repealed the 2023 law and partially replaced it with the Act.56 The parties in both cases agreed to

  file amended complaints drawn to the Act.57

             On May 3, 2024, NetChoice filed its First Amended Complaint and the present Motion

  for Preliminary Injunction.58 The Zoulek Plaintiffs followed suit on May 31, 2024.59 Both

  Plaintiffs broadly challenge the constitutionality of the Act, arguing it violates the First

  Amendment and the Due Process Clause of the Fourteenth Amendment by impermissibly



  52
       Id. § 13-71-302(2).
  53
       Id. § 13-71-302(3).
  54
    Dkt. 1 (NetChoice), NetChoice’s Initial Complaint for Declaratory and Injunctive Relief; Dkt. 2 (Zoulek)
  Zoulek’s Initial Complaint for Declaratory and Injunctive Relief.
  55
    Dkt. 41 (NetChoice), Docket Text Order (striking the briefing schedule for NetChoice’s Motion for Preliminary
  Injunction and directing the parties to propose an updated schedule following the legislative session); Dkt. 27
  (Zoulek), Order Granting Stipulation and Joint Motion to Stay Pending the Completion of the 2024 Utah General
  Legislative Session.
  56
       NetChoice FAC ¶ 38; Zoulek FAC ¶¶ 42–43.
   Dkt. 45 (NetChoice), Docket Text Order (establishing new briefing schedule); Dkt. 31 (Zoulek), Docket Text
  57

  Order (same).
  58
       See generally NetChoice FAC; NetChoice Motion.
  59
       See generally Zoulek FAC; Zoulek Motion.

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  regulating the protected speech of social media companies and their users.60 Each Plaintiff also

  asserts provisions of the Act are preempted by Section 230 of the Communications Decency Act

  (CDA), 47 U.S.C. § 230,61 and the Zoulek Plaintiffs assert the Act violates the Commerce

  Clause.62 Both Plaintiffs aver these issues satisfy their burden to obtain a preliminary injunction

  and ask the court to enjoin Defendants from enforcing the Act before it takes effect on October 1,

  2024.63

             Defendants oppose both Motions for Preliminary Injunction on the grounds that Plaintiffs

  fail to meet their burden “of establishing a clear and unequivocal right” to injunctive relief.64 To

  that end, Defendants primarily contend Plaintiffs “cannot . . . demonstrate that [they are] likely to

  succeed on the merits” because “the Act is a reasonable and constitutional regulation that is

  appropriately tailored to the State’s important and compelling interests.”65

             After Plaintiffs filed their Motions for Preliminary Injunctions, Defendants separately

  moved to dismiss certain claims in each case. In the NetChoice case, Defendants moved to

  dismiss NetChoice’s Section 230 preemption claim,66 and in the Zoulek case, Defendants moved

  to dismiss the Zoulek Plaintiffs’ Section 230 preemption and Commerce Clause claims.67 On

  July 22, 2024, the court issued a Memorandum Decision and Order granting Defendants’ Motion



  60
       NetChoice Motion at 1–5; Zoulek Motion at 1–2. See also NetChoice FAC ¶¶ 1–7; Zoulek FAC ¶¶ 1–6.
  61
       NetChoice FAC ¶ 5; Zoulek FAC ¶ 6. See also NetChoice Motion at 4.
  62
       Zoulek Motion at 2; Zoulek FAC ¶ 6.
  63
       NetChoice Motion at 4–5; Zoulek Motion at 2.
  64
    Dkt. 58 (NetChoice), Defendants’ Memorandum in Opposition to Plaintiff’s Motion for Preliminary Injunction
  (NetChoice Opposition) at 3; Dkt. 52 (Zoulek), Defendants’ Memorandum in Opposition to Plaintiffs’ Motion for
  Preliminary Injunction (Zoulek Opposition) at 3.
  65
       NetChoice Opposition at 2–3; Zoulek Opposition at 3.
  66
       Dkt. 59 (NetChoice), Defendants’ Motion to Dismiss for Failure to State a Claim and Memorandum in Support.
  67
    Dkt. 51 (Zoulek), Defendants’ Motion to Dismiss for Lack of Subject Matter Jurisdiction (Count 3) and Failure to
  State a Claim (Counts 3 and 4).

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  to Dismiss NetChoice’s Section 230 preemption claim for failure to state a claim under Federal

  Rule of Civil Procedure 12(b)(6).68 Shortly thereafter, the Zoulek Plaintiffs voluntarily

  dismissed their Section 230 claim.69 On August 5, 2024, the court issued a separate

  Memorandum Decision and Order granting Defendants’ Motion to Dismiss the Zoulek Plaintiffs’

  Commerce Clause claim for lack of standing.70

             With those claims dismissed, only Plaintiffs’ challenges under the First and Fourteenth

  Amendments remain, and the court considers only those challenges in its analysis of the present

  Motions. Those Motions are fully briefed 71 and the court heard oral argument on August 14,

  2024.72

                                                      ANALYSIS

             The court takes up the parties’ Motions separately, beginning with NetChoice’s Motion

  and then proceeding to the Zoulek Plaintiffs’ Motion. Although Defendants’ do not challenge

  either Plaintiffs’ standing, “[t]he standing requirement is an ‘irreducible constitutional minimum’

  that ‘serv[es] to identify those disputes which are appropriately resolved through the judicial




   Dkt. 78 (NetChoice), Memorandum Decision and Order Granting Defendants’ Motion to Dismiss (Section 230
  68

  Decision).
  69
       Dkt. 66 (Zoulek), Plaintiffs’ Notice of Voluntary Dismissal of Count IV of the First Amended Complaint.
  70
       Dkt. 67 (Zoulek), Memorandum Decision and Order Granting Defendants’ Motion to Dismiss.
   Dkt. 73 (NetChoice), Plaintiff’s Reply Brief in Support of Motion for Preliminary Injunction (NetChoice Reply);
  71

  Dkt. 62 (Zoulek), Plaintiffs’ Combined Reply in Support of Motion for Preliminary Injunction and Opposition to
  Motion to Dismiss.
  At the direction of the court, the parties submitted supplemental briefing concerning the Supreme Court’s recent
  decision in Moody v. NetChoice, LLC, 144 S. Ct. 2383 (2024). See Dkt. 75 (NetChoice), Plaintiff’s Supplemental
  Brief on the Supreme Court’s Moody Decision (NetChoice Supp. Brief); Dkt. 79 (NetChoice), Defendants’
  Supplemental Brief Regarding the Supreme Court’s Decision in Moody v. NetChoice; Dkt. 65 (Zoulek), Plaintiffs’
  Response to Order for Supplemental Briefing; Dkt. 68 (Zoulek), Defendants’ Supplemental Brief Regarding the
  Supreme Court’s Decision in Moody v. NetChoice.
  72
       Dkt. 80 (NetChoice), Minute Entry; Dkt. 69 (Zoulek), Minute Entry.

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  process.’”73 Accordingly, the court begins its review of each Motion by examining Plaintiffs’

  standing. Concluding NetChoice has standing, the court proceeds to the merits of its Motion and

  grants its request for preliminary injunctive relief. Concluding the Zoulek Plaintiffs lack

  standing, the court denies the Zoulek Plaintiffs’ Motion and dismisses each of their claims.

       I.    NetChoice’s Motion

         A. NetChoice Has Standing to Assert Harms to the First Amendment Interests of Its
            Members.

             The court begins its analysis of NetChoice’s Motion by reviewing whether NetChoice has

  standing to raise constitutional challenges against the Act. “The familiar tripartite test for

  standing requires a plaintiff to show (1) it has ‘suffered an injury in fact’; (2) the injury is ‘fairly

  traceable to the challenged action of the defendant’; and (3) it is ‘likely, as opposed to merely

  speculative, that the injury will be redressed by a favorable decision.’”74 However, a different

  standing test applies to organizations asserting claims on behalf of their members.75 Such an

  organization must show “(1) at least one of its members would have standing to sue in the

  member’s own right; (2) the interest it seeks to protect is germane to its purpose; and (3) neither

  the claim asserted nor the relief requested requires the member to participate in the lawsuit.”76




  73
    Speech First, Inc. v. Shrum, 92 F.4th 947, 949 (10th Cir. 2024) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,
  560 (1992)) (second alteration in original); see also Collins v. Daniels, 916 F.3d 1302, 1314 (10th Cir. 2019)
  (quoting Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006)).
  74
       Speech First, Inc., 92 F.4th at 949 (quoting Lujan, 504 U.S. at 560–61).
  75
       Id. (citing Friends of the Earth v. Laidlaw, 528 U.S. 167, 181 (2000)).
  76
       Id.

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             NetChoice, suing on behalf of its members, satisfies these requirements.77 First,

  NetChoice has shown its members have individual standing to sue because they are subject to the

  Act and will face injury in the form of liability if they violate its operative provisions.78 This

  injury is directly traceable to Defendants, who the Act vests with enforcement authority, and

  would be redressed by an injunction blocking that authority. Second, NetChoice has shown the

  interests it aims to protect are central to its organizational purpose of promoting “online

  commerce and speech” while “minimizing . . . burdens that . . . prevent businesses from making

  the Internet more accessible and useful.”79 Finally, NetChoice has shown its claims do not

  “require[] the participation of individual members in the lawsuit.”80 Its claims can be proven

  without fact-intensive, individualized inquiry and the prospective relief it seeks “will inure to the

  benefit of those members of the association actually injured.”81

             Thus, the court concludes NetChoice has standing to raise constitutional claims on behalf

  of its members.82



  77
    Courts considering recent challenges NetChoice has brought against similar state laws have reached the same
  conclusion. See NetChoice, LLC v. Fitch, No. 1:24-cv-170-HSO-BWR, 2024 WL 3276409, at *5–7 (S.D. Miss.
  July 1, 2024) (holding NetChoice “has demonstrated its associational standing to bring claims on behalf of its
  member and its members’ Mississippi users”); NetChoice, LLC v. Yost, No. 2:24-cv-00047, 2024 WL 555904, at
  *3–6 (S.D. Ohio Feb. 12, 2024) (finding NetChoice had “standing to bring both its claims on behalf of its member
  organizations and Ohioan minors”); NetChoice, LLC v, Griffin, No. 5:23-cv-05105, 2023 WL 5660155, at *9–12
  (W.D. Ark. Aug. 31, 2023) (concluding NetChoice has associational standing to challenge state law on behalf of its
  members and its members’ users).
  78
    Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383, 392 (1988) (citing Craig v. Boren, 429 U.S. 190, 194
  (1976)) (holding a trade group had standing when a challenged law was “aimed directly at [the group’s members],
  who . . . would have to take significant and costly compliance measures or risk criminal prosecution”).
  79
       NetChoice FAC ¶ 8.
   United Food & Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517 U.S. 544, 553 (1996) (quoting Hunt v.
  80

  Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)).
  81
       Warth v. Seldin, 422 U.S. 490, 515 (1975).
  82
    NetChoice contends it has standing to sue on behalf of both its members and its members’ users. However, as
  explained below, the court determines NetChoice is entitled to a preliminary injunction based on the interests of its
  members alone. The court need not consider whether NetChoice has standing to advance claims on behalf of its
  members’ users.

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         B. NetChoice Is Entitled to a Preliminary Injunction.

             Having reviewed NetChoice’s standing, the court turns to NetChoice’s Motion for

  Preliminary Injunction. To obtain a preliminary injunction under Rule 65 of the Federal Rules of

  Civil Procedure, a moving party must establish four elements: “(1) a substantial likelihood of

  success on the merits; (2) irreparable harm to the movant if the injunction is denied; (3) the

  threatened injury outweighs the harm . . . the preliminary injunction may cause the opposing

  party; and (4) the injunction, if issued, will not adversely affect the public interest.”83 Because

  preliminary injunctive relief “is an extraordinary remedy” the moving party’s “right to relief

  must be clear and unequivocal.”84

             As described below, NetChoice clears this hurdle. First, NetChoice has shown it is

  substantially likely to succeed on the merits of its claim the entire Act violates the United States

  Constitution. Specifically, NetChoice has shown it is substantially likely to succeed on its first

  cause of action—that the entire Act, through the Act’s Central Coverage Definition, facially

  violates the First Amendment.85 Second, NetChoice has demonstrated the remaining preliminary

  injunction factors support its request for relief.

                  1. NetChoice is Substantially Likely to Succeed on the Merits of Its Claim the
                     Entire Act, Through the Central Coverage Definition, Violates the First
                     Amendment.

             NetChoice argues the entire Act facially violates the First Amendment because the Act’s


   Leachco, Inc. v. Consumer Prod. Safety Comm’n, 103 F.4th 748, 752 (10th Cir. 2024) (quoting Gen. Motors
  83

  Corp. v. Urb. Gorilla, LLC, 500 F.3d 1222, 1226 (10th Cir. 2007)).
  84
       Id. (quoting Schrier v. Univ. of Co., 427 F.3d 1253, 1258 (10th Cir. 2005)).
  85
     See NetChoice FAC ¶¶ 71–96. Because the court concludes NetChoice has shown it is substantially likely to
  succeed on this claim, it does not reach NetChoice’s remaining First and Fourteenth Amendment claims. See
  NetChoice FAC ¶¶ 97–151, 160–173, 179–187; NetChoice Motion at 24–34, 37–39. Neither does the court reach
  NetChoice’s Section 230 claims. See NetChoice FAC ¶¶ 152–159, 174–178; NetChoice Motion at 35–37. The court
  already determined, as a matter of law, that Section 230 does not preempt the Act’s prohibitions on the use of
  autoplay, seamless pagination, and notifications on minors’ accounts and dismissed the corresponding claim from
  NetChoice’s FAC. See generally Section 230 Decision.

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  operative provisions each rely on the Central Coverage Definition, and the Central Coverage

  Definition imposes unjustified, content-based restrictions on social media companies’ speech.86

             NetChoice’s argument is persuasive. As a preliminary matter, there is no dispute the Act

  implicates social media companies’ First Amendment rights.87 The speech at issue in this case—

  the speech social media companies engage in when they make decisions about how to construct

  and operate their platforms—is protected speech.88 The Supreme Court has long held that “[a]n

  entity ‘exercis[ing] editorial discretion in the selection and presentation’ of content is ‘engage[d]

  in speech activity’” protected by the First Amendment.89 And this July, in Moody v. NetChoice,

  LLC, the Court affirmed these First Amendment principles “do not go on leave when social

  media are involved.”90 Indeed, the Court reasoned that in “making millions of . . . decisions each

  day” about “what third-party speech to display and how to display it,” social media companies

  “produce their own distinctive compilations of expression.”91

             Regarding the more pressing question—whether the Act facially violates social media

  companies’ First Amendment rights—the probable answer is “yes.” As explained below,



  86
       NetChoice Motion at 16–24; id. at 25–26 (quoting Murphy v. N.C.A.A., 584 U.S. 453, 481 (2018)).
  87
    Defendants concede this issue, acknowledging “social media platforms contain speech, such that there are First
  Amendment . . . concerns.” NetChoice Opposition at 10. Relatedly, Defendants concede each challenged provision
  of the Act, other than the age assurance requirement, is subject to heighted First Amendment scrutiny. Id.
  88
    NetChoice argues the Act implicates the First Amendment rights of both its members and its members’ users.
  However, as suggested at n. 82, the court concludes NetChoice is entitled to a preliminary injunction without
  deciding whether the Act implicates and violates the First Amendment rights of social media users.
  89
    Moody, 144 S. Ct. at 2402 (quoting Arkansas Ed. Television Comm’n v. Forbes, 523 U.S. 666, 674 (1998))
  (second and third alterations in original); see also Hurley v. Irish-American Gay, Lesbian, and Bisexual Group of
  Boston, 515 U.S. 557, 570 (1995) (“Nor, under our precedent, does First Amendment protection require a speaker to
  generate, as an original matter, each item featured in the communication.”).
  90
       Moody, 144 S. Ct at 2394.
  91
    Id. at 2393. Cf. Yost, 2024 WL 555904, at *7 (“[T]he Act does implicate the First Amendment, at least to some
  degree . . . .”); Fitch, 2024 WL 3276409, at *10 (“[T]he [c]ourt is not persuaded that H.B. 1126 merely regulates
  non-expressive conduct.”); Comput. & Commc’ns Indus. Ass’n et al. v. Paxton, 2024 WL 4051786, at *10 (W.D.
  Tex. Aug. 30, 2024) (“The [c]ourt agrees with Plaintiffs that HB 18’s threshold coverage definition is a content-
  based regulation.”).

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  NetChoice has shown it is substantially likely to succeed on its claim the Act has “no

  constitutionally permissible application”92 because it imposes content-based restrictions on

  social media companies’ speech, such restrictions require Defendants to show the Act satisfies

  strict scrutiny, and Defendants have failed to do so.

                    i.    NetChoice Has Shown the Act Imposes Content-Based Restrictions on
                          Social Media Companies’ Speech.

             NetChoice argues the entire Act is facially content based because the Central Coverage

  Definition draws distinctions between websites that allow users to interact socially and websites

  that serve another function or purpose, such as those that allow users to shop, read the news,

  access entertainment, educate themselves, or conduct business.93 In brief review, the Central

  Coverage Definition defines a “social media company” as “an entity that owns or operates a

  social media service,” and defines a “social media service” by reference to five characteristics,

  including “a public website or application” that “allow[s] users to interact socially with each




  92
    NetChoice Supp. Brief at 9; see also NetChoice Motion at 15 (quoting United States v. Stevens, 559 U.S. 460,
  472–73 (2010)).
  In Moody, the Supreme Court affirmed that a district court evaluating a facial challenge under the First Amendment
  must consider whether a “substantial number of [a law’s] applications are unconstitutional, judged in relation to [its]
  plainly legitimate sweep.” Moody, 144 S. Ct. at 2397. The Court also prescribed a step-by-step framework for
  courts assessing this question to apply. Id. at 2398. First, the court directed district courts to assess a challenged
  law’s “scope,” considering “[w]hat activities, by what actors,” the law “prohibit[s] or otherwise regulate[s].” Id.
  Second, the Court directed district courts to “decide which of the law[’s] applications violate the First Amendment,
  and . . . measure them against the rest.” Id.
  With respect to the scope-framing Central Coverage Definition, however, the Moody questions are easily answered.
  There is no dispute about who and what the Act regulates because the parties agree the Act’s operative provisions,
  only apply to “social media companies” providing “social media services” to minors. See NetChoice Supp. Brief at
  2–4. Likewise, there is no dispute “about how the First Amendment applies to different websites or regulatory
  requirements.” Id. at 5. Although the parties offer opposing arguments about whether the Act satisfies heighted
  First Amendment scrutiny, NetChoice urges the Act is uniformly unconstitutional and Defendants urge the Act is
  uniformly constitutional. See id. at 9.
  93
       NetChoice Motion at 16–17 (citing Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163–64 (2015)).

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  other . . . .”94 The court agrees with NetChoice.

              While a law “is facially content based . . . if it ‘applies to particular speech because of the

  topic discussed or the idea or message expressed[,]’”95 not all “facial distinctions . . . are

  obvious,”96 and a law “cannot escape classification as facially content based simply by swapping

  an obvious subject-matter distinction for a ‘function or purpose’ proxy that achieves the same

  result.”97 Additionally, even “facially content neutral” laws must be considered content based if

  they “cannot be justified without reference to the content of the regulated speech,” or if they

  “were adopted . . . because of disagreement with the message the speech conveys.”98

              For example, in Reed v. Town of Gilbert, Arizona, the Supreme Court held a municipal

  policy that divided signs into categories based on their “communicative content,” such as

  “political signs” and “temporary directional signs,” and regulated each category differently, was

  facially content based.99 The court reasoned that “a speech regulation targeted at a specific

  subject matter is content based even if it does not discriminate among viewpoints within that

  subject matter.”100 But in City of Austin v. Reagan National Advertising, the Court held a

  municipal policy that distinguished between on-premises and off-premises signs (that is, signs

  advertising products or services located on the site where the sign was installed and signs

  advertising products or services located somewhere else) was not facially content based.101



  94
       Utah Code §§ 13-71-101(13) – (14).
  95
       City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 69 (2022) (quoting Reed, 576 U.S. at 163).
  96
       Reed, 576 U.S. at 163.
  97
       City of Austin, 596 U.S. at 74.
  98
     Reed, 576 U.S. at 164 (quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)) (internal quotations and
  alterations omitted).
  99
       Id.
  100
        Id. at 169.
  101
        City of Austin, 596 U.S. at 66, 68.

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  Distinguishing Reed, the Court explained that although the on-premises/off-premises distinction

  “required a reader to inquire ‘who is the speaker and what is the speaker saying,’” it required that

  inquiry “only in service of drawing neutral, location-based lines.”102 This examination was

  “agnostic as to content,” failing to “single out any topic or subject matter for differential

  treatment.”103

              The Central Coverage Definition, like the sign ordinance at issue in Reed, appears to

  draw facially content-based distinctions between subjects of speech. Just as the Reed ordinance

  divided the universe of signs into political signs, defined as signs “designed to influence the

  outcome of an election,” and temporary directional signs, defined as “signs directing the public

  to a church,”104 the Act’s Central Coverage Definition divides the universe of internet platforms

  into social media services, defined as websites or applications that “allow users to interact

  socially with each other,” and other internet platforms, such as platforms for “news, sports,

  commerce, [and] online video games.”105

              Defendants respond that the Definition contemplates a social media service’s “structure,

  not subject matter.”106 However, Defendants’ argument emphasizes the elements of the Central

  Coverage Definition that relate to “registering accounts, connecting accounts, [and] displaying

  user-generated content” while ignoring the “interact socially” requirement.107 And unlike the

  premises-based distinction at issue in City of Austin, the social interaction-based distinction does


  102
        Id. at 68–69.
  103
        Id. at 69.
  104
        See Reed, 576 U.S. at 155.
  105
     Fitch, 2024 WL 3276409, at *9. Although the Central Coverage Definition doesn’t expressly divide the world of
  internet platforms into social media services, news services, entertainment services, etc., it implicitly does the same
  by distinguishing between social media services and all other types of internet services.
  106
        NetChoice Opposition at 22.
  107
        Id.

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  not appear designed to inform the application of otherwise content-neutral restrictions. It is a

  distinction that singles out social media companies based on the “social” subject matter “of the

  material [they] disseminate[].”108 Or as Defendants put it, companies offering services “where

  interactive, immersive, social interaction is the whole point.”109

              Defendants also respond that the Central Coverage Definition is content neutral because

  it does not prevent “minor account holders and other users they connect with [from] discuss[ing]

  any topic they wish.”110 But in this respect, Defendants appear to misunderstand the essential

  nature of NetChoice’s position. The foundation of NetChoice’s First Amendment challenge is

  not that the Central Coverage Definition restricts minor social media users’ ability to, for

  example, share political opinions. Rather, the focus of NetChoice’s challenge is that the Central

  Coverage Definition restricts social media companies’ abilities to collage user-generated speech

  into their “own distinctive compilation[s] of expression.”111

              Moreover, because NetChoice has shown the Central Coverage Definition facially

  distinguishes between “social” speech and other forms of speech, it is substantially likely the

  Definition is content based and the court need not consider whether NetChoice has “point[ed] to




  108
     Fitch, 2024 WL 3276409, at *9; see also Paxton, 2024 WL 4051786, at *11 (“If there is a difference between the
  regulated DSP and unregulated DSP, it is the content of the speech on the site, not the medium through which that
  speech is presented.”).
  109
        NetChoice Opposition at 25.
  110
        Id.
  111
        Moody, 144 S. Ct. at 2393.

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  any message with which the State has expressed disagreement through enactment of the Act.”112

  Likewise, the court need not consider NetChoice’s additional arguments that the Definition is

  speaker based or viewpoint based.113

                      ii.   Defendants Have Not Shown the Act Satisfies Strict Scrutiny.

              Accepting that the entire Act, through the Central Coverage Definition, is facially content

  based, strict scrutiny applies.114 The Act is “presumptively unconstitutional and may be justified

  only if the government proves that [it is] narrowly tailored to serve compelling state interests.”115

  Defendants have not met their burden to satisfy this “demanding standard.”116




  112
     NetChoice Opposition at 21. See Reed, 576 U.S. at 165–166 (quoting Cincinnati v. Discovery Network, Inc., 507
  U.S. 410, 429 (1993) (“A law that is content based on its face is subject to strict scrutiny regardless of the
  government’s benign motive, content-neutral justification, or lack of ‘animus toward the ideas contained’ in the
  regulated speech.”)).
  Defendants also cite Turner Broadcasting System v. F.C.C. in support of their position that the Central Coverage
  Definition is content-neutral. See NetChoice Opposition at 22. In Turner, the Supreme Court employed a two-part
  analysis to hold rules requiring cable television systems to carry local broadcast television stations were not content
  based. Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 645 (1994) (“Our cases have recognized that even a
  regulation neutral on its face may be content based if its manifest purpose is to regulate speech because of the
  message it conveys.”). First, the Court held the rules were not facially content based because they were “based only
  upon the manner in which speakers transmit their messages to viewers, and not upon the messages they carry.” Id.
  at 637–45. Second, the Court held that content-based purposes did not underlie the facially content neutral rules. Id.
  at 645–49. Defendants’ argument relies on the second piece of this analysis. See NetChoice Opposition at 22. But
  as outlined above, the court need not conduct this analysis because the Central Coverage Definition is facially
  content based.
  113
        See NetChoice Motion at 17–18.
  114
        Reed, 576 U.S. at 164.
  115
        Id. at 163.
    Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 799 (2011) (quoting U.S. v. Playboy Ent. Group, 529 U.S. 803,
  116

  817 (2000)) (“It is rare that a regulation restricting speech because of its content will ever be permissible.”).
  Recall that it is NetChoice’s burden to show it is likely to succeed on the merits of its First Amendment challenge.
  See Leachco, Inc., 103 F.4th at 752; Awad v. Ziriax, 670 F.3d 1111, 1129 (10th Cir. 2012). That being so, the
  “burdens at the preliminary injunction stage track the burdens at trial,” and Defendants bear “the burden of proof on
  the ultimate question of the challenged Act’s constitutionality.” Awad, 670 F.3d at 1129 (quoting Gonzales v. O
  Centro Espirita Beneficente Uniao de Vegetal, 546 U.S. 418, 429 (2006)); see also Playboy Ent. Group, 529 U.S. at
  818 (“When First Amendment compliance is the point to be proved, the risk of nonpersuasion—operative in all
  trials—must rest with the Government, not with the citizen.”).

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                          a. Defendants Have Not Shown the Act Serves a Compelling State
                             Interest.

              Although the Act’s statutory language asserts “the state [of Utah] has a compelling

  interest in safeguarding the well-being and privacy of minors in the state[,]”117 Defendants have

  not met their burden to articulate a compelling government interest warranting the Act’s

  intrusion on social media companies’ First Amendment rights.

              To satisfy this exacting standard, Defendants must “specifically identify an ‘actual

  problem’ in need of solving.”118 In Brown v. Entertainment Merchants Association, for example,

  the Supreme Court held California failed to demonstrate a compelling government interest in

  protecting minors from violent video games because it lacked evidence showing a causal

  “connection between exposure to violent video games and harmful effects on children.”119

  Reviewing psychological studies California cited in defense of its position, the Court reasoned

  research “show[ed] at best some correlation between exposure to violent entertainment” and

  “real-world effects.”120 This “ambiguous proof” did not establish violent videogames were such

  a problem that it was appropriate for California to infringe on its citizens’ First Amendment

  rights.121 Likewise, the Court rejected the notion that California had a compelling interest in

  “aiding parental authority.”122 The Court reasoned the state’s assertion ran contrary to the “rule

  that ‘only in relatively narrow and well-defined circumstances may government bar public



  117
        Utah Code § 13-71-102(1).
  118
     Brown, 564 U.S. at 799 (quoting Playboy Ent. Grp., 529 U.S. at 822–23); see also Awad, 670 F.3d at 1130
  (“[O]verly generally statements of abstract principles do not satisfy the government’s burden to articulate a
  compelling interest.”).
  119
        Brown, 564 U.S. at 800.
  120
        Id.
  121
        Id. at 799.
  122
        Id. at 802.

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  dissemination of protected materials to [minors].’”123

              Viewing Defendants’ argument through a wide lens, the court understands Defendants’

  position to be that the State has compelling interests in protecting minors from the mental health-

  and personal privacy-related harms associated with excessive social media use.124 But these

  interests, like California’s interests in protecting minors from the harms associated with violent

  videogames and aiding parental authority, fall short of the First Amendment’s demanding

  standards.

              First, though the court is sensitive to the mental health challenges many young people

  face, Defendants have not provided evidence establishing a clear, causal relationship between

  minors’ social media use and negative mental health impacts. It may very well be the case, as

  Defendants allege, that social media use is associated with serious mental health concerns

  including depression, anxiety, eating disorders, poor sleep, online harassment, low self-esteem,

  feelings of exclusion, and attention issues.125 But the record before the court contains only one

  report to that effect, and that report—a 2023 United States Surgeon General Advisory titled

  Social Media and Youth Mental Health—offers a much more nuanced view of the link between

  social media use and negative mental health impacts than that advanced by Defendants.126 For



  123
        Id. (quoting Erznoznik v. City of Jacksonville, 422 U.S. 205, 212–13 (1975)) (alteration in original).
  124
     Defendants’ analysis does not clearly identify what compelling government interest the Act seeks to advance,
  moving straight from the question of whether the Central Coverage Definition is content based to a discussion of
  whether the Act is appropriately tailored. See NetChoice Opposition at 27–30. Thus, the court infers these interests
  from the Act’s factual findings and Defendants’ general opposition to NetChoice’s Motion. See Utah Code § 13-71-
  102; NetChoice Opposition at 4–5, 12–18, 27–30.
  125
        NetChoice Opposition at 12–15.
  126
     See Dkt. 58-4 (NetChoice), Social Media and Youth Mental Health. Nor do Defendants provide any evidence the
  Utah Legislature considered as it deliberated whether to pass the Act. Although courts usually consider such
  evidence in deciding whether a law satisfies intermediate scrutiny—that is, whether a law advances a substantial
  government interest—it is telling that Defendants do not satisfy this reduced burden. See Turner Broad. Sys., Inc. v.
  F.C.C., 520 U.S. 180, 195, 198–216 (1997) (finding Congress reasonably relied on “substantial evidence” in
  concluding a “real threat justified enactment” of a federal law subject to intermediate scrutiny).

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  example, the Advisory affirms there are “ample indicators that social media can . . . have a

  profound risk of harm to the mental health and well-being of children and adolescents,” while

  emphasizing “robust independent safety analyses of the impact of social media on youth have not

  yet been conducted.”127 Likewise, the Advisory observes there is “broad agreement among the

  scientific community that social media has the potential to both benefit and harm children and

  adolescents,” depending on “their individual strengths and vulnerabilities, and . . . cultural,

  historical, and socio-economic factors.”128 The Advisory suggests social media can benefit

  minors by “providing positive community and connection with others who share identities,

  abilities, and interest,” “provid[ing] access to important information and creat[ing] a space for

  self-expression,” “promoting help-seeking behaviors[,] and serving as a gateway to initiating

  mental health care.”129

              The record also contains a Declaration by Dr. Jean Twenge, a psychology professor at

  San Diego State University, describing various reports linking social media use to negative

  mental health impacts.130 But these reports are not themselves a part of the record, and the court

  is unable to assess their results or methodologies. Moreover, a review of Dr. Twenge’s

  Declaration suggests the majority of the reports she cites show only a correlative relationship




  127
        Id. at 4, 11.
  128
        Id. at 5.
  129
     Id. at 6. The Advisory suggests these benefits are especially prominent among minors “who are often
  marginalized, including racial, ethnic, and sexual and gender minorities.” Id. For example, the Advisory cites
  evidence that “[s]even out of ten adolescent girls of color report encountering positive or identity-affirming content
  related to race across social media platforms.” Id.
  130
        See Dkt. 58-2 (NetChoice), Declaration of Dr. Jean Twenge ¶¶ 30–53 (Twenge Declaration).

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  between social media use and negative mental health impacts.131 Insofar as those reports support

  a causal relationship, Dr. Twenge’s Declaration suggests the nature of that relationship is limited

  to certain populations, such as teen girls, or certain mental health concerns, such as body

  image.132

             Second, Defendants’ position that the Act serves to protect uninformed minors from the

  “risks involved in providing personal information to social media companies and other users”133

  ignores the basic First Amendment principle that “minors are entitled to a significant measure of

  First Amendment Protection.”134 The personal information a minor might choose to share on a

  social media service—the content they generate—is fundamentally their speech. And the

  Defendants may not justify an intrusion on the First Amendment rights of NetChoice’s members

  with, what amounts to, an intrusion on the constitutional rights of its members’ users.135

             Third, with respect to both the State’s mental health and personal privacy concerns,

  Defendants generally argue parents are caught “in a losing battle against social media companies

  for the attention and well-being of their own children.”136 However, Defendants’ evidence is far

  from clear that “the Act’s restrictions meet a substantial need of parents who wish to restrict their


  131
     See, e.g., id. ¶ 31 (“Correlational studies consistently show a link between heavy social media use and mood
  disorders.”); id. ¶ 33(e) (“These studies are consistent with a 2022 meta-analysis finding a strong connection
  between social media use and depression/anxiety.”); id. ¶ 42 (“A longitudinal prospective study of adolescents
  without ADHD symptoms found that . . . high-frequency use of digital media . . . was associated with a modest yet
  statistically significant increased odds of developing ADHD symptoms.”).
  132
     See, e.g., id. ¶ 47 (“Even the social media companies themselves have internal research establishing the causal
  link between their product and poor mental health outcomes for youth, with Facebook finding that ‘we make body
  issues worse for 1 in 3 teen girls.’”); id. ¶ 52 (“A random assignment experiment found that reducing social media
  use to one hour a day improved youths’ confidence in their appearance.”).
  133
        NetChoice Opposition at 17.
  134
        Erznoznik, 422 U.S. at 212–13.
  135
      Yost, 2024 WL 555904, at *12 (“[L]ike content-based regulations, laws that require parental consent for children
  to access constitutionally protected, non-obscene content, are subject to strict scrutiny.”); see also Brown, 564 U.S.
  at 794–95 (citing Erznoznik, 422 U.S. at 213–14).
  136
        NetChoice Opposition at 35.

                                                            26
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  children’s access to” social media services and “cannot do so” otherwise.137 To the contrary,

  Defendants’ evidence generally indicates “[o]ther methods exist to advance the goal of

  protecting children on the internet, including parental controls and web filtering technology.”138

                           b. Defendants Have Not Shown the Act Is Narrowly Tailored.

             Even assuming Defendants have established the State’s mental health and personal

  privacy concerns are “‘actual problem[s] in need of solving,”139 the Act fails strict scrutiny

  because Defendants have not shown it is “carefully tailored to achieve those ends.”140 In the

  strict scrutiny context, narrow tailoring requires a law to be the “least restrictive means” of

  satisfying a government interest.141 That is, “the curtailment of free speech must be actually

  necessary . . . .”142 Additionally, the government may not pursue its interests by means that are

  either “seriously underinclusive” or “seriously overinclusive.”143

             To begin, Defendants have not shown the Act is the least restrictive option for the State

  to accomplish its goals because they have not shown existing parental controls are an inadequate




  137
        Brown, 564 U.S. at 803.
  138
        Dkt. 58-3 (NetChoice), Declaration of Tony Allen (Allen Declaration) ¶ 37.
  The Declaration of Carl Szabo in Support of Plaintiff’s Motion for Preliminary Injunction provides a useful
  explanation of the utility of these alternative methods. See Dkt. 52-1 (NetChoice), Declaration of Carl Szabo in
  Support of Plaintiff’s Motion for Preliminary Injunction (Szabo Declaration) ¶ 8–9. Szabo describes the lengths
  NetChoice’s members go to protect children on their social media platforms, as well as the network-, device-,
  browser-, and app-level restrictions parents may implement to control their children’s access to various social media
  services. Id.
  139
        Brown, 564 U.S. at 799.
  140
        Sable Commc’ns of Cal., Inc. v. F.C.C., 492 U.S. 115, 126 (1989).
  141
     Ams. for Prosperity Found. v. Bonta, 594 U.S. 595, 607 (2021) (quoting McCullen v. Coakley, 573 U.S. 464, 478
  (2014)).
  142
     Brown, U.S. 564 at 799; R.A.V. v. City of St. Paul, 505 U.S. 377, 395 (1992) (“The dispositive question in this
  case . . . is whether content discrimination is reasonably necessary to achieve [a defendant’s] compelling interests.”).
  143
        Brown, U.S. 564 at 805.

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  alternative to the Act.144 While Defendants present evidence suggesting parental controls are not

  in widespread use,145 their evidence does not establish parental tools are deficient. It only

  demonstrates parents are unaware of parental controls, do not know how to use parental controls,

  or simply do not care to use parental controls.146 Moreover, Defendants do not indicate the State

  has tried, or even considered, promoting “the diverse supervisory technologies that are widely

  available” as an alternative to the Act.147 The court is not unaware of young people’s

  technological prowess and potential to circumvent parental controls.148 But parents “control[]

  whether their minor children have access to Internet-connected devices in the first place,”149 and

  Defendants have not shown minors are so capable of evading parental controls that they are an

  insufficient alternative to the State infringing on protected speech.150

             Defendants also suggest the Act is essential to solving social media-related problems

  because social media platforms contain “nicotine-like additives”—namely, seamless pagination,

  autoplay, and push notification systems—designed to foster “over-indulgence” and “user

  addiction.”151 But Defendants do not offer any evidence that requiring social media companies


  144
     See Ashcroft v. A.C.L.U., 542 U.S. 656, 666 (2004) (upholding a district court’s decision to issue a preliminary
  injunction enjoining enforcement of a federal law restricting minors’ access to certain internet content when the
  government failed its burden to show the plaintiffs’ proposed alternative—blocking and filtering software—was a
  less effective solution).
  145
     See, e.g., NetChoice Opposition at 17 (citing evidence that “just 50 percent of parents use any kind of parental
  controls,” and “just 16% of parents use blocking or filtering controls to restrict their teens use of [their] cell phone”).
  146
        Allen Declaration ¶¶ 38–41.
  147
     NetChoice Motion at 21. In any case, the State should be mindful of parents who choose not to use parental
  controls because they are not concerned about their children’s social media use. “It is cardinal with us that the
  custody, case, and nurture of the child reside first in the parents, whose primary function and freedom include
  preparation for obligations the state can neither supply nor hinder.” Ginsberg v. State of N.Y., 390 U.S. 629, 639
  (1986) (quoting Prince v. Massachusetts, 321 U.S. 158, 166 (1944)).
  148
        Allen Declaration ¶¶ 39–41.
  149
        Szabo Declaration ¶ 9.
  150
     If minors are capable of circumventing parental controls at all levels, there is reason to believe children could
  also circumvent the controls the Act requires social media companies to impose. See Brown, 564 U.S. at 802.
  151
        NetChoice Opposition at 4, 16, 30.

                                                              28
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  to compel minors to push “play,” hit “next,” and log in for updates will meaningfully reduce the

  amount of time they spend on social media platforms. Nor do Defendants offer any evidence

  that these specific measures will alter the status quo to such an extent that mental health

  outcomes will improve and personal privacy risks will decrease.

              Next, Defendants have not shown the Act is not seriously “underinclusive when judged

  against its asserted justification[s].”152 Brown is illustrative for this purpose where the Supreme

  Court held California’s restrictions on minors’ access to violent videogames were underinclusive

  in so far as they did not restrict minors’ access to other media, including “Saturday morning

  cartoons” or videogames “rated for young children.”153 The Court reasoned California’s failure

  to regulate cartoons like Bugs Bunny and non-violent videogames like Sonic the Hedgehog was

  problematic because research showed they produced the same effect in children as violent

  videogames.154 This result “raise[d] serious doubts about whether the government [was] in fact

  pursing the interest it invoke[d], rather than disfavoring a particular speaker or viewpoint.”155

              Like Brown, the Act appears underinclusive when judged against the State’s interests in

  protecting minors from the harms associated with social media use because the Act ultimately

  preserves minors’ ability to spend as much time as they want on social media platforms. This

  outcome does not comport with a core underpinning of Defendants’ argument—that excessive

  social media use harms minors.156 Similarly, the Act preserves minors’ access to the addictive

  features Defendants express particular concern with on all internet platforms other than social



  152
        Brown, 564 U.S. at 802.
  153
        Id. at 800–02.
  154
        Id.
  155
        Id. at 802.
  156
        See NetChoice Opposition at 4, 13, 23, 58, 60.

                                                         29
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  media services.157 As NetChoice explains, “a teenager can receive notifications about their

  favorite sports team from ESPN but not from X—even if the notification is word-for-word the

  same.”158 They can “seamlessly scroll through image searches on Bing or through college

  rankings on U.S. News and World Report but cannot use such seamless pagination for searching

  recipes on Pinterest.”159 And they “can autoplay videos on Disney+ and Hulu,” but not

  YouTube.160

              Defendants generally respond to these underinclusivity concerns by suggesting a social

  media-specific problem arises when social media companies’ use “addictive design features” in

  combination with “user-generated [content] and user-to-user interface.”161 But Defendants

  simply do not offer any evidence to support this distinction,162 and they only compare social

  media services to “entertainment services.”163 They do not account for the wider universe of

  platforms that utilize the features they take issue with, such as news sites and search engines.

  Accordingly, the Act’s regulatory scope “raises seriously doubts” about whether the Act actually

  advances the State’s purported interests.164



  157
     “Essentially all applications, including services like Apple News, Disney+, Duolingo, ESPN, and The Wall Street
  Journal” send users push notifications; “services like Disney+, Hulu, Spotify, and Buzzfeed use autoplay to present
  content[;]” and “services like U.S. News and World Report College Rankings, The New York Times, Bing, and
  Apple News use seamless pagination to present content[.]” Szabo Declaration ¶¶ 17–19.
  158
        NetChoice FAC ¶ 94.
  159
        Id.
  160
        Id. ¶ 78, 94.
  161
        NetChoice Opposition at 28.
  162
     In support of their position, Defendants cite a paragraph from Dr. Twenge’s Declaration stating “[s]ocial media,
  more than TV or gaming, is linked to shorter sleep, more mid-sleep awakenings, and longer time to fall asleep.”
  Twenge Declaration ¶ 39. See also Brown, 564 U.S. at 798 (rejecting the notion that videogames present special
  First Amendment problems because they are “interactive”).
  163
        NetChoice Opposition at 28.
  164
     Brown, 564 U.S. at 802; see also Williams-Yulee v. Florida Bar, 575 U.S. 433, 448–49 (2015) (explaining
  underinclusivity “raises a red flag” when it suggests the government is disfavoring a particular speaker or viewpoint,
  or it “reveal[s] that a law does not actually advance a compelling interest”).

                                                           30
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              Finally, Defendants have not shown the Act is not seriously overinclusive, restricting

  more constitutionally protected speech than necessary to achieve the State’s goals. Specifically,

  Defendants have not identified why the Act’s scope is not constrained to social media platforms

  with significant populations of minor users, or social media platforms that use the addictive

  features fundamental to Defendants’ well-being and privacy concerns.165 NetChoice member

  Dreamwidth, “an open source social networking, content management, and personal publishing

  website,” provides a useful illustration of this disconnect.166 Although Dreamwidth fits the

  Central Coverage Definition’s concept of a “social media service,” Dreamwidth is

  distinguishable in form and purpose from the likes of traditional social media platforms—say,

  Facebook and X.167 Additionally, Dreamwidth does not actively promote its service to minors

  and does not use features such as seamless pagination and push notification.168

              In combination, these shortcomings demonstrate Defendants have not met their burden to

  show the Act, through the Central Coverage Definition, is narrowly tailored to advance a

  compelling government interest.169 As a result, the court concludes Defendants have not met




  165
        NetChoice Motion at 24; Szabo Declaration ¶¶ 10–12.
  166
     See Dkt. 52-5 (NetChoice), Declaration of Denise Paolucci in Support of Plaintiff’s Motion for Preliminary
  Injunction ¶ 1.
  167
        Id. ¶ 7.
  168
        Id. ¶¶ 3, 5, 11, 13–14.
  169
     The court’s focus with respect to under- and over-inclusivity is how the Act, through the Central Coverage
  Definition, restricts social media companies’ speech. However, the Act also appears overinclusive in so far as it
  affects users’ speech. For example, the Act’s age assurance provision, which applies to all users, broadly burdens
  adult users’ ability to “access a broad range of protected speech on a broad range of covered websites.” Fitch, 2024
  WL 3276409 at *12. As another example, the Act’s restrictions on minors’ ability to connect with those outside
  their immediate networks broadly burdens minors’ ability to share and receive protected speech. See Erznoznik, 422
  U.S. at 212–14 (explaining “minors are entitled to a significant measure of First Amendment protection” and
  “speech that is neither obscene as to youths nor subject to some other legitimate proscription cannot be suppressed
  solely to protect the youth from ideas or images a legislative body thinks unsuitable for them”).

                                                          31
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  their “burden of proof on the ultimate question of the . . . Act’s constitutionality,”170 and

  NetChoice is substantially likely to prevail on the merits of its claim the entire Act, through the

  Central Coverage Definition, facially violates the First Amendment.171

               2. The Remaining Preliminary Injunction Factors Support NetChoice’s
                  Request for Injunctive Relief.

           Having determined NetChoice is substantially likely to succeed on the merits of its First

  Amendment challenge, the court next considers the remaining preliminary injunction factors.

  “When a movant establishes the first prong of a preliminary injunction based on a First

  Amendment claim, the remaining prongs generally also weigh in [its] favor.”172 Such is the case

  here.

                  i.    NetChoice Has Shown Its Members Will Suffer Irreparable Injury
                        Absent a Preliminary Injunction.

           Under the second preliminary injunction factor, NetChoice must demonstrate it will

  suffer irreparable injury in the absence of an injunction. Within the First Amendment context,

  however, “[t]he Supreme Court has made clear that ‘the loss of First Amendment freedoms, for

  even minimal periods of time, unquestionably constitutes irreparable injury.’”173 This principle

  comports with the wider view that “the infringement of a constitutional right . . . require[s] no




  170
     Gonzales, 546 U.S. at 429. Notably, this conclusion generally comports with the recent decisions of other district
  courts applying strict scrutiny to similar laws. See, e.g., Fitch, 2024 WL 3276409, at *14 (“In summary, NetChoice
  has demonstrated a substantial likelihood of success on its claim that H.B. 1126 is either overinclusive or
  underinclusive, or both, for achieving the assert governmental interest—protecting minors from predatory behavior
  online . . . .”); Yost, 2024 WL 555904, at *13 (“In other words, the Act is either underinclusive or overinclusive, or
  both, for all the purported government interests at stake).
    Defendants do not specifically dispute NetChoice’s argument that if the Central Coverage Definition is
  171

  unconstitutional, the entire Act, through the Central Coverage Definition, is unconstitutional.
  172
     Pryor v. Sch. Dist. No. 1, 99 F.4th 1243, 1254 (10th Cir. 2024) (citing Hobby Lobby Stores, Inc. v. Sebelius, 723
  F.3d 1114, 1145 (10th Cir. 2013)).
  173
     Heideman v. S. Salt Lake City, 348 F.3d 1182, 1190 (10th Cir. 2003) (quoting Elrod v. Burns, 427 U.S. 347, 373
  (1976)).

                                                           32
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  further showing of irreparable injury.”174 Separately, courts hold that a plaintiff suffers

  irreparable injury when they face “monetary damages that cannot later be recovered for reasons

  such as sovereign immunity.”175

              NetChoice has shown its members face irreparable injury absent a preliminary injunction

  for both these reasons. First, as explained above, NetChoice has shown it is substantially likely

  to succeed on the merits of its claim the Act, through the Central Coverage Definition, violates

  its members’ First Amendment rights. Because even brief First Amendment violations

  “unquestionably constitute[] irreparable injury,” NetChoice has shown it will suffer irreparable

  harm absent a preliminary injunction.176 Second, NetChoice members stand to incur substantial

  unrecoverable expenses in the form of either civil penalties or compliance costs absent a

  preliminary injunction because Defendants, sued in their official capacities as government

  employees, are immune from suit for monetary damages.177 This harm is particularly concerning

  given the high cost of violating the Act—$2,500 per offense—and the State’s failure to

  promulgate administrative rules enabling social media companies to avail themselves of the

  Act’s safe harbor provision before it takes effect on October 1, 2024.178




  174
        Free the Nipple, 916 F.3d at 805 (citing Awad, 670 F.3d at 1131).
  175
     Chamber of Com. of U.S. v. Edmondson, 594 F.3d 742, 770–71 (10th Cir. 2010) (citing Kan. Health Care Ass’n,
  Inc. v. Kan. Dep’t of Soc. & Rehab. Servs., 31 F.3d 1536, 1543 (10th Cir. 1994)) (“Imposition of monetary damages
  that cannot later be recovered for reasons such as sovereign immunity constitutes irreparable injury.”).
  176
        Id.
  177
        NetChoice Motion at 39–40.
  178
     See Utah Code § 13-71-302. Defendants’ Opposition asserts that state law does not allow the Division to
  promulgate these rules until the Act’s effective date—October 1, 2024. See Dkt. 58-7 (NetChoice), Declaration of
  Katherine Hass ¶ 5 (citing Utah Code § 13-2-1(2)). But in discussing this issue at oral argument, Defendants did not
  recognize the harm this delay poses to social media companies who wish to comply with the Act on day one.
  Neither did the Defendants suggest the State would make any effort to mitigate this harm, such as delaying
  enforcement of the law or providing draft rules to NetChoice members or the public.

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                    ii.    The Balance of Equities and the Public Interest Weigh in Favor of a
                           Preliminary Injunction.

             When the government is the opposing party to a lawsuit, the third and fourth preliminary

  factors “merge.”179 A moving party must show avoiding the harm a threatened injury poses is

  consistent with the public interest. Though, the Tenth Circuit holds “it is always in the public

  interest to prevent the violation of a party’s constitutional rights.”180

             Because NetChoice has shown it is substantially likely the Act violates social media

  companies’ First Amendment rights, it follows that the balance of equities and the public interest

  lean in NetChoice’s favor. Defendants counter that the public interest favors “protecting

  children and adolescents from the harmful effects of social media” and preserving the State’s

  ability to “enact and enforce” state laws.181 But as discussed above, Defendants have not shown

  the State’s desire to protect minors eclipses the First Amendment. Indeed, the public interest in

  protecting constitutional rights is “more profound” than the public interest in carrying out “the

  will of the voters” through the implementation of state laws.182 Accordingly, the court concludes

  the final two preliminary injunction factors, in combination with the first two factors, support

  granting NetChoice’s request for a preliminary injunction.

                   iii.    No Bond is Required.

             Rule 65(c) provides a “court may issue a preliminary injunction . . . only if the movant

  gives a security in an amount that the court considers proper to pay the costs and damages




  179
     Aposhian v. Barr, 958 F.3d 969, 978 (10th Cir. 2020) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)),
  abrogated on other grounds by Garland v. Cargill, 602 U.S. 406 (2024).
  180
     Awad, 670 F.3d at 1132 (quoting G&V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079 (6th
  Cir. 1994)).
  181
        NetChoice Opposition at 58–59.
  182
        Awad, 670 F.3d at 1132 (citation omitted).

                                                          34
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  sustained by any party found to have been wrongfully enjoined or restrained.”183 Although the

  parties do not address this issue, the court must.184 Trial courts in the Tenth Circuit “have ‘wide

  discretion under Rule 65(c) in determining whether to require security.’”185

              Because this preliminary injunction “enforces fundamental constitutional rights against

  the government,” the court determines “[w]aiving the security requirement best accomplishes the

  purposes of Rule 65(c).”186 No bond is required.

   II.        The Zoulek Plaintiffs’ Motion

              The court now turns to the Zoulek Plaintiffs’ Motion, which argues, among other things,

  that the court should enjoin enforcement of the Act because the Zoulek Plaintiffs are likely to

  prevail on the merits of their First Amendment claims.187 Although neither party addresses the

  Zoulek Plaintiffs’ standing to bring these claims, the court begins—and ends—its analysis with

  this threshold inquiry. 188

         A. The Zoulek Plaintiffs Lack Standing to Challenge the Act Under the First
            Amendment.

              Recall that to establish standing, a plaintiff must show they have suffered an injury in



  183
        Fed. R. Civ. P. 65(c).
  184
      Coquina Oil Corp. v. Transwestern Pipeline Co., 825 F.2d 1461, 1462 (10th Cir. 1987) (holding that while a
  district court judge has discretion to “determine a bond is unnecessary to secure a preliminary injunction . . . when a
  trial court fails to contemplate the imposition of the bond,” as required by Rule 65(c), “its order granting a
  preliminary injunction is unsupportable”).
    RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1215 (10th Cir. 2009) (quoting Winnebago Tribe of Neb. v. Stovall,
  185

  341 F.3d 1202, 1206 (10th Cir. 2003)).
  186
     S. Utah Drag Stars v. City of St. George, 677 F.Supp.3d 1252, 1294 (D. Utah 2023) (quoting United Utah Party
  v. Cox, 268 F.Supp.3d 1227, 1260 (D. Utah 2017)); Rocky Mountain Gun Owners v. Polis, 685 F.Supp.3d 1033,
  1061 (D. Colo. 2023) (“The Court finds a bond unnecessary as this case seeks to enforce a constitutional right
  against the government.”).
  187
      Zoulek Motion at 1. Zoulek also argues they are likely to prevail on their claim under the Commerce Clause. Id.
  at 2. However, the court previously dismissed this claim. See Memorandum Decision and Order Granting
  Defendants’ Motion to Dismiss. Only Zoulek’s First Amendment claims remain for consideration. See Zoulek FAC
  ¶¶ 70–87, 88–90.
  188
        Collins, 916 F.3d at 1314 (quoting Arbaugh, 546 U.S. at 514).

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  fact, that their injury is fairly traceable to the challenged actions of defendants, and that it is

  likely, as opposed to merely speculative, that their injury will be redressed by a favorable

  decision of the court.189 This showing is “substantially more difficult to establish” when “a

  plaintiff’s asserted injury arises from the government’s allegedly unlawful regulation . . . of

  someone else.”190 Because courts are reluctant to engage in “guesswork as to how independent

  decisionmakers will exercise their judgment,”191 a plaintiff must “adduc[e] facts showing that . .

  . third-party choices have been or will be made in such a manner as to . . . permit redressability

  of injury.”192

             Applying this standard to the present case, the Zoulek Plaintiffs suffer from a

  redressability problem. The Act regulates social media companies—not social media users. And

  any injuries to the Zoulek Plaintiffs’ First Amendment rights would arise as the second-order

  effects of social media companies’ responses to the Act. Nonetheless, the Zoulek Plaintiffs have

  not identified how an injunction will ensure redress of their purported injuries. They have not

  shown that social media companies—which are free to restrict user access, remove content, and

  otherwise moderate their platforms as they see fit—will maintain minors’ access to their




  189
        Speech First, 92 F.4th at 949 (quoting Lujan, 504 U.S. at 560–61).
  190
        State v. United States Env’t Prot. Agency, 989 F.3d 874, 889 (10th Cir. 2021) (quoting Lujan, 504 U.S. at 562).
  191
        Clapper v. Amnesty Int’l USA, 568 U.S. 398, 413 (2013).
  192
     State, 989 F.3d at 889 (quoting Ctr. for Biological Diversity v. United States Dep’t of Interior, 563 F.3d 446, 478
  (D.C. Cir. 2009)) (emphasis in original).

                                                             36
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  platforms absent an injunction.193

           At oral argument, the Zoulek Plaintiffs suggested the existence of NetChoice’s lawsuit

  resolved their redressability problem. They identified references to the parallel lawsuit in their

  Motion and First Amended Complaint and suggested the court could take judicial notice of its

  existence as evidence social media companies intended to maintain the status quo unless

  otherwise required to act. However, the Zoulek Plaintiffs did not cite legal authority in support

  of this contention, and NetChoice’s lawsuit offers no clear indication its members will maintain

  minors’ access to their platforms absent an injunction.194

           Perhaps social media companies would maintain minors’ access, recognizing the ways

  minors use their platforms to communicate and learn. Or perhaps social media companies would

  see value in the State’s mental health and data privacy concerns and voluntarily reduce minors’

  access. The issue is we do not know. The Zoulek Plaintiffs have not pled facts demonstrating




  193
      Courts have uniformly held, social media companies are private entities, and the public does not have a First
  Amendment right to use their platforms. See, e.g., O’Handley v. Weber, 62 F.4th 1145, 1155–57 (9th Cir. 2023)
  (noting that “[a]s a private company, Twitter is not ordinarily subject to the Constitution’s constraints” and holding
  it “did not violate the Constitution” when moderating a user’s posts or suspending an account); Prager Univ. v.
  Google LLC, 951 F.3d 991, 996–99 (9th Cir. 2020) (explaining that YouTube may be a “public square on the
  Internet” but that does not turn it into a state actor or convert the platform to a public forum subject to the First
  Amendment); DeLima v. Google, Inc., 561 F.Supp. 3d 123, 134–35 (D.N.H. 2021) (dismissing a claim that social
  media companies’ removal of posts and deleting of accounts violated the First Amendment because companies are
  private entities, not state actors); Fed. Agency of News LLC v. Facebook, Inc., 432 F.Supp.3d 1107, 1121–27 (N.D.
  Cal. 2020) (holding Facebook’s removal of a plaintiff’s content and profiles did not violate the First Amendment
  because company was a private actor and social media platforms are not public forums); Davison v. Facebook, Inc.,
  370 F.Supp.3d 621, 628–29 (E.D. Va. 2019) (dismissing constitutional claims against Facebook because, “as a
  private entity, [it has] the right to regulate the content of its platforms as it sees fit”); Nyabwa v. FaceBook, No.
  2:17-cv-24, 2018 WL 585467, at *1 (S.D. Tex. Jan. 26, 2018) (explaining that notwithstanding the Supreme Court’s
  recognition “that social media sites like FaceBook and Twitter have become the equivalent of a public forum for
  sharing ideas and commentary, the Court did not declare a cause of action against a private entity such as FaceBook
  for a violation of the free speech rights protected by the First Amendment”).
  194
     The Zoulek Plaintiffs directed the court to a portion of United States v. Rodriguez-Aguirre, 264 F.3d 1195, 1203
  (10th Cir. 2001) describing the standard the court should apply to review a motion to dismiss for lack of subject
  matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1). However, the case is inapt because it addressed
  the proper handling of disputed jurisdictional facts. Id. The issue here is that the Zoulek Plaintiffs simply fail to
  plead essential jurisdictional facts. It is also noteworthy that the Circuit was not dealing with a third-party standing
  issue and made no comments about the heightened bar applied to third-party standing. See, e.g., 1204–05.

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  social media companies “will likely react in predictable ways” if the court enjoins the Act.195

             Under these circumstances, the court must conclude the Zoulek Plaintiffs’ injuries are not

  redressable, and the Zoulek Plaintiffs’ lack standing to challenge the Act under the First

  Amendment.

             B. The Court Dismisses Counts I and II of the Zoulek Plaintiffs’ First Amended
                Complaint Without Prejudice.

             The effect of the Zoulek Plaintiffs’ lack of standing extends beyond their Motion for

  Preliminary Injunction. “Because Article III standing is a jurisdictional issue,” the court’s

  conclusion that the Zoulek Plaintiffs lack standing means the court does not have subject matter

  jurisdiction to hear their claims.196 And “once a federal court determines that it is without

  subject matter jurisdiction, the court is powerless to continue.”197 It “must dismiss the action.”198

  Accordingly, the court dismisses the Zoulek Plaintiffs’ First Amendment claims, Counts I and II

  of their First Amended Complaint, without prejudice.

                                                     CONCLUSION

             For the forgoing reasons, NetChoice’s Motion is GRANTED. Defendants, their agents,

  their employees, and all other persons acting under their direction or control are

  PRELIMINARILY ENJOINED under Federal Rule of Civil Procedure 65 from enforcing any

  part of the Utah Minor Protection in Social Media Act, Utah Code §§ 13-71-101 to 401, pending


  195
     Murthy v. Missouri, 144 S. Ct. 1972, 1986 (2024) (quoting Dept. of Com. v. New York, 588 U.S. 752, 768
  (2019)).
  196
        Felix v. City of Bloomfield, 841 F.3d 848, 854 (10th Cir. 2016) (citing Lujan, 504 U.S. at 559–60).
  197
     Cunningham v. BHP Petroleum Great Britain PLC, 427 F.3d 1238, 1245 (10th Cir. 2005) (quoting Univ. of S.
  Ala. v. Am. Tobacco Co., 168 F.3d 405, 410 (11th Cir. 1999)); see also Brereton v. Bountiful City Corp., 434 F.3d
  1213, 1217 (10th Cir. 2006) (citing Gold v. Loc. 7 United Food & Com. Workers, 159 F.3d 1307, 1311 (10th Cir.
  1998)) (“[O]nce a court determines it lacks jurisdiction over a claim, it perforce lacks jurisdiction to make any
  determination of the merits of the underlying claim.”).
    Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction, the court
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  must dismiss the action.”).

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  final disposition of the issues in this case.

          The Zoulek Plaintiffs’ Motion is DENIED and Counts I and II of the Zoulek Plaintiffs’

  First Amended Complaint are dismissed without prejudice. The Zoulek Plaintiffs may seek

  leave to file an amended complaint within thirty (30) days.

           SO ORDERED this 10th of September 2024.


                                                                BY THE COURT:



                                                                ____________________________
                                                                ROBERT J. SHELBY
                                                                United States Chief District Judge




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